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                                                               Franklin Co. Circuit Court
                                                               2nd Judicial Circuit
                                                               Date: 2/5/2020 12:18 PM
                                                               Jim Muir




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                                                                   Exhibit A
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